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     Attorney(s) for Plaintiff Social Positioning Input Systems, LLC
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
     SOCIAL POSITIONING INPUT
10   SYSTEMS, LLC,
11                 Plaintiff,
                                               CASE NO. 8:21-cv-01156
12          v.
13
     WOLF MOBILE, INC. d/b/a                   DEMAND FOR JURY TRIAL
14   ECONZ WIRELESS,
15                 Defendant.
16

17                                      COMPLAINT
18         Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files
19   this Complaint against Wolf Mobile Inc., d/b/a Econz Wireless, Inc. (“Defendant” or
20   “Econz”) for infringement of United States Patent No. 9,261,365 (hereinafter “the
21   ‘365 Patent”).
22                              PARTIES AND JURISDICTION
23         1.     This is an action for patent infringement under Title 35 of the United
24   States Code. Plaintiff is seeking injunctive relief as well as damages.
25         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
26   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
27   infringement arising under the United States patent statutes.
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 1          3.     Plaintiff is a Texas limited liability company with a virtual office located
 2   at 1 East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
 3          4.     On information and belief, Defendant is a California corporation with its
 4   principal office located at 202 Fashion Lane, Suite #221, Tustin, CA 92780. On
 5   information and belief, Defendant may be served through its agent, James Thompson,
 6   at the same address.
 7          5.     On information and belief, this Court has personal jurisdiction over
 8   Defendant because Defendant has committed, and continues to commit, acts of
 9   infringement in this District, has conducted business in this District, and/or has
10   engaged in continuous and systematic activities in this District.
11          6.     On information and belief, Defendant’s instrumentalities that are alleged
12   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
13   in this District.
14                                           VENUE
15          7.     On information and belief, venue is proper in this District under 28
16   U.S.C. § 1400(b) because Defendant is deemed to reside in this District.
17   Alternatively, acts of infringement are occurring in this District and Defendant has a
18   regular and established place of business in this District.
19                                          COUNT I
20         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
21          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
22          9.     This cause of action arises under the patent laws of the United States
23   and, in particular, under 35 U.S.C. §§ 271, et seq.
24          10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights
25   to enforce the ‘365 Patent and sue infringers.
26          11.    A copy of the ‘365 Patent, titled “Device, System and Method for
27   Remotely Entering, Storing and Sharing Addresses for a Positional Information
28   Device,” is attached hereto as Exhibit A.
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                                             COMPLAINT
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 1         12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
 2   compliance with Title 35 of the United States Code.
 3         13.    Upon information and belief, Defendant has infringed and continues to
 4   infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
 5   using (at least by having its employees, or someone under Defendant's control, test
 6   the accused Product), importing, selling, and/or offering for sale associated hardware
 7   and software for asset locating services (e.g., Econz asset tracking platform, and any
 8   associated hardware, apps, or other software) (“Product”) covered by at least Claim 1
 9   of the ‘365 Patent. Defendant has infringed and continues to infringe the ‘365 patent
10   either directly or through acts of contributory infringement or inducement in violation
11   of 35 U.S.C. § 271.
12         14.    The Product provides an asset tracking system for real-time GPS
13   tracking of assets. A user can receive location information on a positional information
14   device (e.g., mobile device or computer). Certain aspects of this element are
15   illustrated in the screenshot(s) below and/or in those provided in connection with
16   other allegations herein.
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 1         15.    The Product software sends a request from a first (requesting) positional
 2   information device (e.g., mobile device or desktop with software installed) to a server.
 3   The request is for the real-time location (e.g., stored address) of an asset, and includes
 4   a first identifier of the requesting positional information device (e.g., user ID and
 5   password for the Product software used in the particular enterprise). The request is
 6   sent to the Product server for transmitting the vehicle location. The server receives
 7   the at least one address from a second (sending) positional information device at the
 8   asset. Certain aspects of this element are illustrated in the screenshot(s) below and/or
 9   in those provided in connection with other allegations herein.
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 1         16.   The at least one address is received from the server at the requesting
 2   positional information device.    For example the Product’s server transmits the
 3   position of an asset (at least one address) to the requesting positional information
 4   device. Certain aspects of this element are illustrated in the screenshot(s) below
 5   and/or in those provided in connection with other allegations herein.
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26         17.    A second identifier for the second (sending) positional information

27   device is determined based on the first identifier and the server retrieves the at least

28   one address stored in the at least one sending positional information device. The
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                                            COMPLAINT
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 1   Product application installed on the requesting positional information device requests
 2   (from the server) the asset’s GPS location (i.e., at least one stored address stored). As
 3   shown above, before activating the tracker (i.e., the sending positional information
 4   device), a unique tracking device’s ID number or credentials (i.e., second identifier)
 5   needs to be added to the user’s account identified by the user login ID and password
 6   (i.e., the first identifier). Hence, the tracker device’s ID number or field employee
 7   credentials (i.e., second identifier) is mapped to the user’s login ID (i.e., the first
 8   identifier) for tracking the real-time location (i.e., at least one stored address stored)
 9   of the vehicle. Certain aspects of this element are illustrated in the screenshot(s) below
10   and/or in those provided in connection with other allegations herein.
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           18.    Defendant’s actions complained of herein will continue unless
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     Defendant is enjoined by this court.
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           19.    Defendant’s actions complained of herein are causing irreparable harm
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     and monetary damage to Plaintiff and will continue to do so unless and until
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     Defendant is enjoined and restrained by this Court.
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           20.    Plaintiff is in compliance with 35 U.S.C. § 287.
18
                                  PRAYER FOR RELIEF
19
           WHEREFORE, Plaintiff asks the Court to:
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           (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
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     asserted herein;
22
           (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
23
     employees, attorneys, and all persons in active concert or participation with Defendant
24
     who receive notice of the order from further infringement of United States Patent No.
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     9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of
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     judgment going forward);
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                                            COMPLAINT
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 1         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
 2   accordance with 35 U.S.C. § 284;
 3         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
 4         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
 5   entitled under law or equity.
 6                                   JURY TRIAL DEMAND
 7         Pursuant to Fed. R. Civ. P. 38(b)(1) and (c), and L.R. 38-1, Plaintiff hereby
 8   demands a jury trial on all the issues in this action so triable of right by a jury.
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     Dated: July 5, 2021                      Respectfully submitted,

11                                            /s/ Stephen M. Lobbin
12                                            Attorney(s) for Plaintiff
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